               UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      Case No. 20-CV-954

FARHAD AZIMA,

       Plaintiff,                             RESPONSE OF PLAINTIFF
                                               FARHAD AZIMA TO THE
        v.                                    MOTION OF DEFENDANT
                                                VITAL MANAGEMENT
NICHOLAS DEL ROSSO and VITAL                    SERVICES, INC., FOR
MANAGEMENT SERVICES, INC.,                      PROTECTIVE ORDER

       Defendants.


      Plaintiff Farhad Azima submits this brief in response to the Motion for

Protective Order of Defendant Vital Management Services, Inc. (“Vital”;

together with Nicholas Del Rosso, “Defendants”) (ECF No. 216) and Vital’s

Memorandum of Law in Support of Motion for Protective Order (ECF No. 217

(the “Memo”)).

                              INTRODUCTION
      Defendants’ Motion for a protective order and to stay the Rule 30(b)(6)

deposition of Vital is just one more maneuver in Defendants’ continuing effort

to delay and prevent discovery. This Court has already reminded Defendants

that court filings “must not be intended to ‘cause unnecessary delay.’” ECF No.

79 at 12 (citing Fed. R. Civ. P. 11); see also id. at 5 (“This court is skeptical of

the propriety of Defendants’ motion”) & 6 (noting that the Court was “dubious

as to the propriety of Defendants’ motion”). Undeterred by those warnings,



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Defendants have refused to participate in discovery, interfered with

third-party discovery where they have no standing to do so, and tried to hijack

the Court’s docket and these proceedings with endless, unfounded, and

unnecessary motion practice – all of which has stymied discovery. This motion

is merely the latest of these efforts, and it should be denied for several reasons.

      First, Vital’s only available corporate representative – Defendant Del

Rosso, by definition a critical witness – has terminal cancer. Defendants relied

upon that diagnosis in their effort to avoid his deposition testimony in January

2023. At that time, Defendants argued in Court filings (see ECF Nos. 97, 98)

that his deposition should be delayed to the Spring so that he could recover.

Since then, despite repeated attempts by Plaintiff to learn of the status of his

condition, Defendants have refused to provide any meaningful update. All of

this is occurring as the discovery period is winding down, and Defendants now

try to avoid and severely limit the most meaningful deposition—the one in

which “I don’t remember” is not an available answer, because Defendants have

an obligation to utilize all available information to re-educate and inform

Vital’s most knowledgeable person relative to Plaintiff’s Rule 30(b)(6)

deposition notice topics. Plaintiff therefore should be permitted to depose Vital

and receive relevant documents from him on the earliest possible date.

      Second, Vital did not even try to meet its burden to show that it is

entitled to invoke the attorney-client privilege or the attorney work product


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doctrine here. Defendants and their affiliated third parties continue to try to

hide the facts of this case by asserting a blanket privilege over “Defendants’

work with Dechert in furtherance of Dechert’s representation of RAK and its

related entities,” Memo. at 7, but do so without supplying the required details

about the supposed engagement or any information necessary for Plaintiff and

the Court to assess Defendants’ privilege claims.

      Third, the scope of discovery for Plaintiff’s claims is broad and the topics

described in Plaintiff’s Rule 30(b)(6) notice to Vital are relevant to the claims

and defenses in this case and proportional to the needs of this case. In

particular, Plaintiff’s civil conspiracy claim requires broad discovery into

Defendants’ relationships with their co-conspirators. Defendants’ repeated

demands to narrow the scope of this case to a two-year period (2018 and 2019)

ignores both Plaintiff’s claim of civil conspiracy dating to 2014 and Defendants’

own Answer, which contains information and assertions that predate 2018.

      Fourth, Defendants’ continued refrain that Plaintiff seeks information

for other cases is both spurious and irrelevant given that the Court has entered

a protective order in this case that protects any confidential documents,

communications, or information disclosed during discovery. See ECF No. 177.

     STATEMENT OF FACTS AND PROCEDURAL HISTORY
      On November 16, 2022, the Court entered a scheduling order

commencing discovery and stating that “[d]iscovery will be conducted on the



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operative allegations and claims contained in Plaintiff’s Complaint, the denials

and defenses raised in Defendants’ Answer, and all other relevant matters

within the scope of Fed. R. Civ. P. 26, provided that either party may assert

objections based on relevance, proportionality or any other basis allowed under

Fed. R. Civ. P. 26.” ECF No. 93 at 1-2. Among other things, the Court also

directed the parties to complete fact discovery by July 1, 2023, and to complete

expert discovery by August 1, 2023. ECF No. 93 at 2.

      Defendants immediately began obstructing discovery, self-selecting

their discovery obligations and refusing to produce any documents or

communications in response to Plaintiff’s discovery requests other than the

documents and data Defendants and their co-conspirators stole and

misappropriated from Plaintiff. See ECF No. 131 at 6; ECF No. 131-3.

Defendants then filed an avalanche of discovery motions (which have been well

documented in prior filings) and collaborated with affiliated third parties to

stymie discovery, see, e.g., ECF Nos. 133 & 134 (Shanahan Law Group); 136 &

137 (Dechert); 150 & 151 (Swecker); and 198 & 199 (Evers).

      On December 22, 2022, Plaintiff served a Rule 30(b)(6) notice on Vital.

ECF No. 216-1. Defendants responded on January 13, 2023 with objections to

Plaintiff’s deposition notice. ECF No. 216-2. On January 18, 2023, Plaintiff re-

noticed Vital’s Rule 30(b)(6) deposition for May 17, 2023, ECF No. 216-3, and

Vital waited almost three months to object to the re-noticed deposition, ECF


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No. 216-4. Defendants’ motion here is about one thing: avoiding their discovery

obligations, and nothing more.

                                 ARGUMENT
      “Protective orders pursuant to Rule 26(c) should be sparingly used and

cautiously granted.” Armitage v. Biogen, Inc., No. 1:17-cv-1133, 2019 WL

79037, at *2 (M.D.N.C. Jan. 2, 2019) (cleaned up). Indeed, “[n]ot only are

protective orders prohibiting depositions rarely granted, but [the moving

party] has a heavy burden of demonstrating the good cause for such an order.”

Id. (quoting Medlin v. Andrew, 113 F.R.D. 650, 653 (M.D.N.C. 1987)). To decide

whether Defendants have shown “good cause,” the Court must “balance the

interest of [Plaintiff] in obtaining the information versus the interest of [his]

opponent in keeping the information confidential or in not requiring its

production.’” Id. (quoting UAI Tech., Inc. v. Valutech, Inc., 122 F.R.D. 188, 191

(M.D.N.C. 1988)). Thus, “[i]n order to obtain a protective order prohibiting a

deposition, the proponent must convince the Court that the information sought

by the deposition lacks relevance to such an extent that the likelihood and

severity of the harm or injury caused by the deposition outweighs any need for

the information.” Id. (cleaned up); see also Martin v. Bimbo Foods Bakeries

Distribution, LLC, 313 F.R.D. 1, 6 (E.D.N.C. 2016) (“A party moving for a

protective order has the burden of making a particularized showing of why

discovery should be denied, and conclusory or generalized statements in the



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motion fail to meet this burden.”). Vital’s motion for a protective order falls far

short of the high bar required to prevent its deposition.

    I.      Defendant Vital is Actively Concealing its Corporate
            Representative’s Concerning Health Status.
      Time is of the essence. Defendant Vital’s representative, the key witness

in this case, has represented under oath to this Court that he has terminal

cancer. Given Mr. Del Rosso’s terminal illness, Plaintiff sought information

about the status of Mr. Del Rosso’s health before agreeing to any stay of

discovery, but Defendants have refused to provide any update or assurances

that Mr. Del Rosso’s health is good and that it will not deteriorate. Stated

plainly, Defendant Del Rosso – Vital’s Rule 30(b)(6) representative – is dying,

perhaps in the near term, and perhaps far sooner than Plaintiff or the Court

knows. Plaintiff therefore should be permitted to receive relevant documents

from the Defendants and other third parties and take Vital’s Rule 30(b)(6)

deposition on the earliest possible date to ensure that all relevant evidence is

preserved and produced.

   II.      Defendants and Their Affiliated Third Parties Have
            Made No Effort to Establish the Attorney-Client
            Privilege or Attorney Work Product Doctrine.
      Vital claims that Plaintiff seeks testimony about information and

communications that are protected by the attorney-client privilege and the

attorney work product doctrine. See, e.g., Memo. at 7 (asking that the

deposition be limited to topics “not protected by any applicable privilege—

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namely, the attorney-client privilege and work-product protections applicable

to Defendants’ work with Dechert in furtherance of Dechert’s representation

of RAK and its related entities”). Defendants and their collaborative third

parties have raised similar privilege objections in other motions and filings,

see, e.g., ECF No. 137 at 7-8; ECF No. 151 at 6-7; ECF No. 176 at 1.

      The attorney-client privilege “is not absolute”; instead, it “is to be strictly

confined within the narrowest possible limits[.]” Solis v. Food Emps. Lab. Rels.

Ass’n, 644 F.3d 221, 226 (4th Cir. 2011) (cleaned up). Typically,

“[c]ommunications do not merit the attorney-client privilege when they are

made in the presence of a third party.” Glob. Textile All., Inc. v. TDI Worldwide,

LLC, 847 S.E.2d 30, 34 (N.C. 2020); see also ECF No. 167 at 14-16 (describing

the law in the Fourth Circuit and North Carolina on the attorney-client

privilege for non-lawyers). Defendants’ broad privilege arguments are

particularly suspect: Vital is not a law firm, Mr. Del Rosso is not a lawyer, and

Defendants have refused to produce any documents, even records such as bank

statements, calendar appointments, or travel records, that are not

communications with attorneys and thus not the type of documents that

typically would be afforded attorney-client privilege or work product

protection.

      Despite the strict requirements of Rule 26(b)(5)(ii), Defendants have

never “describe[d] the nature of the documents, communications, or tangible


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things not produced or disclosed—and do[ne] so in a manner that, without

revealing information itself privileged or protected, will enable other parties to

assess the claim.” Fed. R. Civ. P. 26(b)(5)(ii). Here, Vital attempts to blind the

Court and seeks an order – without the support of any affidavit, sworn

testimony, engagement letter or agreement, or evidence or information of any

kind – that “Defendants’ work with Dechert in furtherance of Dechert’s

representation of RAK and its related entities,” Memo. at 7, is privileged and

protected by the attorney work product doctrine. It is impossible for the Court

to make factual findings about the nature of Defendants’ work or legal

conclusions about privilege and work product without the information and

evidence required by the most elementary of privilege and work product

jurisprudence. Relying on his own refusal to submit details about, for example,

the scope of Defendants’ work for Dechert, the timeframe of the representation,

or the purpose of the representation, Vital instead seeks to avoid testifying

about any of the topics in the Plaintiff’s Rule 30(b)(6) notice based on

speculation that there might be questions that call privilege or work product

into question. At best, this argument is specious; at worst, it is intentionally

misleading.

  III.        Plaintiff’sProposed           Topics    are     Relevant       and
              Proportionate.

      “The Fourth Circuit has stated that deposition-discovery rules are to be

accorded a broad and liberal treatment.” United States v. Duke Energy Corp.,

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No. 00-CV-1262, 2012 WL 1565228, at *7 (M.D.N.C. Apr. 30, 2012) (cleaned

up). “The broad scope of discovery permitted under Rule 26(b)(1) applies to

Rule 30(b)(6) depositions.” Martin, 313 F.R.D. at 6. Plaintiff’s proposed Rule

30(b)(6) topics are well within the broad scope of discovery under Rule 26 for

several reasons.

      First, Plaintiff’s proposed topics are relevant to his claims for

misappropriation of trade secrets and civil conspiracy based on, among other

things, the allegations in his Complaint.* Plaintiff’s proposed deposition topics

for Vital are at the heart of these claims. They seek information regarding

payments to or from the individuals and entities involved in the conspiracy to

hack Plaintiff (Topic 2); any reports, memoranda, summaries, notes, or

outlines prepared by Defendants that relate to Plaintiff, his associates, or his

businesses (Topic 3); the acquisition, retention, or use of Plaintiff’s documents

(Topic 4); any effort by Defendants to conceal the receipt, possession, transfer,

or copying of Plaintiff’s documents; travel records related to Defendants

meeting with their co-conspirators (Topic 6); meetings between Defendants

and Amir Handjani, one of the alleged hacking co-conspirators (Topic 7); the




      *
        By law, the scope of discovery is not limited only to Plaintiff’s
allegations, though. See Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351,
98 S. Ct. 2380, 2389, 57 L. Ed. 2d 253 (1978) (“[D]iscovery is not limited to
issues raised by the pleadings, for discovery itself is designed to help define
and clarify the issues.”)

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scope of named projects undertaken by Vital that Plaintiff believes are related

to the alleged conspiracy (Topic 11); and payments to or from Vital to alleged

co-conspirators (Topic 12).

        Moreover, Plaintiff is entitled to testimony from Vital that is relevant to

his civil conspiracy claim, which by definition includes the design, pattern, and

intent of Defendants and their co-conspirators. See Food Lion, LLC v. Dairy

Farmers of Am., Inc., No. 1:20-CV-442, 2020 WL 6947921, at *5 (M.D.N.C.

Sept.    29,   2020)   (“Particularly   where    allegations   of   conspiracy   or

monopolization are involved . . . broad discovery may be needed to uncover

evidence of invidious design, pattern or intent.”) (cleaned up). Similarly,

Defendants’ attempt to limit this case essentially to the moment in time when

Plaintiff’s trade secrets were published on the internet willfully ignores both

the allegations in the Complaint and the nature of discovery and the Rules that

govern it. See Williams v. AT&T Servs., Inc., No. 3:21-cv-617, 2022 WL

1814630, at *2 (W.D.N.C. June 2, 2022) (courts “readily” and “regularly” find

that discovery can extend to events “years before the alleged conduct at issue”);

Johnson v. Mechanics Farmers Bank, Civil No. 3:05-cv-258, 2006 WL 3207320,

at *4 (W.D.N.C. Nov. 3, 2006) (finding as “reasonable” a five-year window for

records beginning over four years before the first alleged discriminatory event);

see also 6 Moore’s Federal Practice–Civil, § 26.45[5] (2021) (“Information

concerning events that substantially preceded the occurrence of the incident[s]


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that [are] the basis for the suit may shed important light on the facts directly

relevant to a claim or defense, and thus may be relevant for discovery

purposes.”).

      Second, Plaintiff’s proposed topics are relevant to Vital’s statements in

its answer and its affirmative defenses. See, e.g., ECF No. 93 at 1-2 (“Discovery

will be conducted on the . . . denials and defenses raised in Defendants’

Answer, and all other relevant matters within the scope of Fed. R. Civ. P.

26[.]”); Caraustar Indus., Inc. v. N. Georgia Converting, Inc., No. 3:04CV187-

H, 2005 WL 8174172, at *3 (W.D.N.C. Sept. 9, 2005) (holding that party was

“allowed to conduct a Rule 30(b)(6) deposition, including inquiring into the

facts underlying the Defendant’s denials and affirmative defenses”). In their

Answer, Defendants (1) alleged (among other things) that Plaintiff stole

financial documents and fabricated “a story” to “frustrate” a judgment in the

United Kingdom, and (2) made a claim for attorneys’ fees in this case, but will

not provide information or answer questions about that claim. Plaintiff is

entitled to discovery about these and other statements.

      Third, Vital submits no evidence to support its claim of undue burden.

ECF No. 217 at 10, 22, 24, 26. This Court has previously rejected similar overly

burdensome objections in the absence of evidence that the requested discovery

“would cost a substantial amount of money or pose real logistical difficulties.”

Kinetic Concepts, Inc. v. ConvaTec Inc., 268 F.R.D. 226, 249 (M.D.N.C. 2010)


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(collecting cases). Thus, mere statements by counsel in Defendants’ brief are

not sufficient to support a protective order in this case. Defendants’ burden

arguments ring particularly hollow since they have not produced a single

custodial document and refuse to answer questions regarding what searches

they have run to find relevant documents. It is not clear whether Defendants

have taken any steps to find responsive documents beyond producing

Plaintiff’s own hacked data.

      Fourth, Plaintiff does not—as Defendants claim without any evidence—

seek discovery to use in other cases; instead, Plaintiff seeks testimony about

topics that are relevant and discoverable to the claims here. And irrespective

of Defendants’ purported concerns, the protective order addresses potential use

of discovery in other cases. See ECF No. 177.

  IV.       Delaying the Deposition in this Case is Unwarranted
            and Will Compromise the Court-Ordered Discovery
            Deadline.

      Defendants offer no “good cause” – or cause at all – for delaying the

deposition of Vital. Fact discovery ends in this case on July 1, 2023, and expert

discovery ends on August 1, 2023. ECF No. 93 at 2. Postponing the deposition

for a lengthy period (and staying discovery, which Plaintiff will address in his

response to Defendants’ related Motion to Stay) will needlessly compromise

Plaintiff’s ability to complete fact discovery by July 1. If Defendants have

legitimate objections to questions asked at the deposition, counsel can include


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those objections during the deposition, and testimony will be taken and

evidence then presented at trial subject to those objections.

                               CONCLUSION
      For the foregoing reasons, Plaintiff respectfully requests that the Court

deny Defendants’ motion for a protective order.

      This, the 11th day of May, 2023.

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                    CERTIFICATE OF WORD COUNT

      The undersigned certifies compliance with Local Rule 7.3(d) regarding

length limitations. This Response brief contains fewer than 6,250 words. The

undersigned has relied on the word count feature of Microsoft Word 365 in

making this certification.


                                /s/ Ripley Rand
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                                Counsel for Plaintiff




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            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      CASE NO. 20-CV-954

FARHAD AZIMA,

       Plaintiff,

       v.
                                            CERTIFICATE OF SERVICE

NICHOLAS DEL ROSSO and
VITAL MANAGEMENT SERVICES,
INC.,

       Defendants.

      I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
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 This, the 11th day of May, 2023.

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